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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

PAUL ZWIER,                                   §
                                              §
     Plaintiff,                               §          Civil Action File No.
                                              §
v.                                            §        1:20-cv-03265-MHC-RDC
                                              §
EMORY UNIVERSITY and                          §
JAMES B. HUGHES, JR.,                         §       JURY TRIAL DEMANDED
                                              §
     Defendants.                              §

              CONSENT PROTECTIVE ORDER
OF CONFIDENTIALITY AND TO PROTECT PRIVILEGED MATERIALS

      WHEREAS, discovery in this action will likely be directed at materials that

contain proprietary trade secrets or other confidential research, development,

financial, personnel, medical, and/or recruiting and admissions information, or are

subject to contractual confidentiality obligations;

      WHEREAS, such materials may be subject to protection under Fed. R. Civ.

P. 26(c) because their disclosure would harm the producing person or entity;

      WHEREAS, the parties have agreed on terms for the treatment of such

materials as embodied in this Order; and
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      WHEREAS, the parties seek the Court’s assistance in facilitating such

discovery by proposing entry of this Order suitably protecting such materials

consistent with law.

      Pursuant to Fed. R. Civ. P. 26(c) and for good cause shown, it is hereby

ORDERED that:

                                       1.

      The parties anticipate that discovery in this matter will include the

production of proprietary or sensitive information or documents, including but

not limited to (1) materials revealing trade secrets (as defined by Federal or

Georgia law) or other confidential and/or proprietary information, including but

not limited to confidential information as defined in O.C.G.A. § 13-8-51(3),

information reflecting non-public technical research, , financial statements,

personnel records, recruiting and admissions data and information, non-public

scientific research, or information, the disclosure of which absent the

protections afforded herein could create a substantial risk of serious harm that

could not be avoided by less restrictive means, (2) materials subject to

confidentiality obligations imposed by contract or other legal obligation

restricting their disclosure, and (3) confidential medical or other personal

information (collectively, “Confidential Information”).



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                                          2.

      Such Confidential Information is subject to protection under Fed. R. Civ.

P. 26(c) because its disclosure may cause competitive injury to the producing

party, cause the producing party to violate its confidentiality obligations, or

result in the improper disclosure of personal information. The parties mutually

recognize the need to protect such Confidential Information, as set forth herein.

                                          3.

      The Court finds that any party to this action, or nonparty from whom

discovery is sought, may designate as “Confidential” any discovery material

containing Confidential Information, including without limitation deposition

testimony, answers to requests for admissions and interrogatories, and documents

or things provided in response to requests for production or subpoenas, and may

designate as “Attorneys’ Eyes Only” (“AEO”) any discovery material containing

trade secrets (as defined by Federal or Georgia law) or other highly confidential

information. Designation of material as Confidential or AEO shall constitute a

representation by the designating party that such information has been reviewed by

an attorney and that there is a valid and good faith basis for the designation.




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                                          4.

      Material other than deposition transcripts, videotapes, and exhibits must be

designated as Confidential Information by branding it with the words “Confidential

– Subject to Protective Order” or “AEO” or by producing it with some other

written designation that reasonably alerts a recipient that the material is

“Confidential” or “AEO.” Electronic data containing Confidential Information

must be designated as such by marking the copy of the electronic data produced

(such as a CD or DVD) with the words “Confidential – Subject to Protective

Order” or “AEO” and by designating the specific portions of the electronic data or

electronic files that contain Confidential Information. If such means of designation

are not readily available or feasible with respect to the electronic data, the parties

shall agree on alternative means to ensure that the electronic data receives

Confidential or AEO treatment.

                                          5.

      During a deposition, a person or entity may indicate on the record that

certain testimony is designated as “Confidential” or “AEO.” In such a deposition,

a person or entity designating a portion of the record as “AEO” may request the

exclusion from the deposition of any non-attorneys until the conclusion of such

AEO testimony.      The parties agree to reasonably entertain such requests and



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mutually work together to resolve any questions related to such requests without

seeking guidance from the Court. The parties, however, reserve the right to object

to the exclusion of parties from deposition testimony. Additionally, for thirty (30)

days following a deposition, the transcript, videotape, and exhibits shall be deemed

Confidential or AEO, as noted on the record. After that period, such material will

remain Confidential or AEO only if a person or entity has served a written

designation of those portions of the transcript, videotape, and exhibits that shall

remain Confidential or AEO.

                                         6.

      A person or entity may disclose Confidential Information that is not their

own only in connection with this action and only to the following “Qualified

Persons”:

      (a)   in the case of material marked “Confidential,” the parties, including

            any employees, attorneys and agents of the parties assisting in the

            prosecution or defense of this action;

      (b)   in the case of material marked “Confidential” or “AEO,” counsel of

            record and their employees directly involved in this matter and in-

            house attorneys for the parties;




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 (c)   in the case of material marked “Confidential” or “AEO,” expert

       witnesses or consultants, to whom disclosure is reasonably necessary,

       retained or specially employed by a party for this action, provided that

       such person first executes a Confidentiality Agreement in the form

       attached hereto as Exhibit A;

 (d)   in the case of material marked “Confidential” or “AEO,” potential or

       actual witnesses to whom disclosure is reasonably necessary, provided

       that such person first executes a Confidentiality Agreement in the

       form attached hereto as Exhibit A. If a potential or actual witness to

       whom disclosure is reasonably necessary refuses to sign Exhibit A,

       the witness shall be permitted to see Confidential Information, but

       will not be permitted to retain such material;

 (e)   in the case of material marked “Confidential” or “AEO,” the author or

       recipient of a document containing the information or a custodian or

       other person who otherwise possessed or knew the information;

 (f)   in the case of material marked “Confidential” or “AEO,” court

       reporters and videographers retained by the parties to record

       testimony;




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      (g)    in the case of material marked “Confidential” or “AEO,” the Court

             and its employees;

      (h)    in the case of material marked “Confidential” or “AEO,” any other

             person to whom the producing party, in writing, authorizes disclosure;

             and

      (i)    in the case of material marked “Confidential” or “AEO,” special

             masters or discovery referees appointed by the Court.

                                        7.

      Confidential Information shall be maintained in confidence, used solely

for purposes of this action, and disclosed only as permitted and in the manner

provided herein. None of the persons to whom Confidential Information is

made available shall make use of such material for any purpose other than the

prosecution or defense of this action (including any appeal) or disclose the

contents of such material to any other person or entity, except as permitted by

this Order. This Order governs the treatment of Confidential Information during

discovery, pre-trial practice, and following conclusion of the case. The Court

will separately consider the treatment of any Confidential Information to be

used at trial in a pre-trial Order.




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                                         8.

      A party wishing to disclose Confidential Information to someone who is not

a Qualified Person must first seek written permission from the entity or person that

produced the material. The producing entity or person shall respond to the request

within two (2) business days and shall not withhold permission unreasonably. If

the producing entity denies permission, the party seeking to disclose the

Confidential Information may move the Court for relief pursuant to the procedures

set forth in paragraph 11(c) of the Court’s Guidelines for Discovery and Motions

Practice (“Guidelines”).

                                         9.

      The restrictions on a party’s use of Confidential Information do not apply to

material designated as “Confidential” that:

      (a)   lawfully came into that party’s possession through means other than

            discovery in this action or production during the confidential Faculty

            Hearing Committee proceedings between the parties;

      (b)   appears in any printed publication or is otherwise publicly available,

            provided the Confidential Information was not made publicly

            available through disclosure by a party or its agent in violation of

            confidentiality obligations; or



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      (c)    has been obtained from a source not under an obligation of

             confidentiality   to   the   person   designating    that   material   as

             “Confidential.”

                                          10.

      Any person or entity filing a document in this action that discloses or

attaches the following categories of Confidential Information shall move to file

such material under seal in accordance with Local Rule, App. H., Ex. A, Section

II(J) of the United States District Court for the Northern District of Georgia,

Atlanta Division: (a) reports and related investigatory files of Emory’s Office of

Equity and Inclusion, (b) student records, and (c) employee personnel records for

individuals other than Plaintiff (including personnel files, disciplinary proceedings,

Faculty Hearing Committee proceedings, and investigatory proceedings)

(collectively, “Confidential Information Subject to Seal”). The producing party

shall designate all such documents as “Confidential Information -- Subject to

Seal,” and such documents shall be treated in all other respects as Confidential

Information pursuant to this Order. As to the filing of documents only partially

containing Confidential Information Subject to Seal, the portions that contain

Confidential Information Subject to Seal should, whenever feasible, be redacted

so that the remainder of the document is not under seal and is available to the



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public. Unless the Court orders otherwise, the Clerk shall maintain under seal all

filed materials designated as Confidential Information – Subject to Seal and shall

make them available only to Qualified Persons. Upon filing a document under

seal, the filing party shall provide unredacted copies of the filing to counsel for

all other parties.

                                         11.

      A party may object to the designation of material as Confidential or AEO by

notifying the producing person or entity in writing, specifying the material at issue,

and providing the grounds for the objection. Within two (2) business days of such

notice or such later time as the parties may agree, the parties shall confer

concerning the designation of the material.       If differences remain, the party

designating the disputed material as Confidential or AEO shall seek resolution by

the Court within ten (10) business days of the objection pursuant to the procedures

set forth in paragraph 11(c) of the Court’s Guidelines. The party designating the

material as Confidential or AEO shall have the burden of establishing that such

material should be treated as Confidential or AEO under this Order. The material

shall retain its status as Confidential or AEO until further order of the Court. A

party’s decision not to object to the designation of any material as Confidential or




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AEO shall not constitute an agreement or admission that any document, thing, or

information is in fact confidential or admissible.

                                         12.

       Nothing contained in this Order shall bar or otherwise restrict any attorney

to whom it applies from communicating with any individual not authorized to view

material designated as Confidential or AEO and, in the course thereof, referring to

or relying upon his or her examination of such material, without relating the

specific information designated as Confidential or AEO. Such communication

shall be limited to the purpose of rendering advice to the attorney’s client with

respect to this litigation.

                                         13.

       A party who fails to designate as Confidential or AEO material containing

Confidential Information may provide each receiving party with written notice of

that party’s intent to designate the material as Confidential or AEO. Upon receipt

of such notice, the noticed material shall be treated as Confidential or AEO.

Within fifteen (15) business days of providing notice, the producing party shall

replace the material with copies marked “Confidential” or “AEO,” and upon

receipt of the replacement material, the receiving party shall promptly return or

destroy all copies of the noticed material.



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                                         14.

      The parties shall return or certify the destruction of all Confidential

Information received from another person or entity (including all copies, extracts,

and summaries thereof, other than attorney work product) to counsel for the

producing person or entity within thirty (30) calendar days after entry of final

judgment or completion of any appeal. Notwithstanding this provision, counsel of

record for the parties are entitled to retain an archival copy of all pleadings, motion

papers,   trial,   deposition,   and    hearing    transcripts,   legal   memoranda,

correspondence, deposition and trial exhibits, expert reports, attorney work product

(including all emails attaching or referring to Confidential Information), and

consultant and expert work product, even if such materials contain Confidential

Information. Any such archival copies that contain or constitute Confidential

Information remain subject to this Order.

                                         15.

      A party’s inadvertent production of material claimed to be protected by

privilege, including the attorney-client privilege or work product doctrine

(“Produced Privileged Information”), shall not waive any privilege claim. The

person or entity making the claim shall request in writing that the receiving party

return such Produced Privileged Information by identifying the material and stating



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the basis for the claim. After being notified, and absent a dispute about whether

the material is entitled to protection, the receiving party must return, or destroy the

Produced Privileged Information and any copies it has within five (5) business

days. The receiving party must inform the producing party of any prior disclosures

and must use all means reasonably available to retrieve any information previously

disclosed.

                                          16.

      If there is any dispute regarding whether Produced Privileged Information is

entitled to protection, counsel for the receiving party shall sequester the Produced

Privileged Information and confer with counsel for the producing party in a good

faith effort to resolve the dispute. If the parties are unable to resolve the dispute,

counsel for the receiving party may promptly present the information to the Court

under seal for a resolution of the dispute in accordance with paragraph 11(c) of the

Guidelines. The parties may not use or disclose the information until the claim is

resolved. The burden of proving that a claim of privilege attaches to the disputed

material shall lie with the party claiming the privilege.




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                                        17.

      This Order shall remain in full force and effect during and after the

termination of this action, whether by settlement, judgment, or other disposition,

and all appeals therefrom, until modified by an Order of this Court.

                                        18.

      Entry of this Order shall have no effect on the parties’ rights in any

dispute relating to material filed in this or any other action prior to entry of this

Order. Nothing here precludes any person from moving the Court for protection

of material beyond that provided by this Order.

      SO ORDERED this ___ day of _______________, 20___.




                                          REGINA D. CANNON
                                          United States Magistrate Judge




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CONSENTED AND AGREED TO:




s/ M. Travis Foust                    s/ Michael W. Johnston
A. Lee Parks, Jr.                     Michael W. Johnston
Georgia Bar No. 563750                Georgia Bar No. 396720
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Counsel for Plaintiffs                Counsel for Defendants




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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

PAUL ZWIER,                                  §
                                             §
     Plaintiff,                              §          Civil Action File No.
                                             §
v.                                           §        1:20-cv-03265-MHC-RDC
                                             §
EMORY UNIVERSITY and                         §
JAMES B. HUGHES, JR.,                        §     JURY TRIAL DEMANDED
                                             §
     Defendants.                             §

                      CONFIDENTIALITY AGREEMENT

        I hereby certify my understanding that I have received material designated as

“Confidential Information” under the terms and restrictions of the CONSENT

PROTECTIVE ORDER entered in this action, that I have been given a copy of

and have read that Order, and that I submit to the jurisdiction of this Court for

enforcement of the Order. I agree to use any Confidential Information disclosed to

me in this action solely for purposes of this action and strictly in accordance with

that Order. I will neither disclose nor discuss the contents of any such material

with anyone other than a person who is a Qualified Person under this order.

Date:                                       Signed:



                                            Printed Name:




                                     EXHIBIT A
